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11                              IN THE UNITED STATES DISTRICT COURT

12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                       OAKLAND DIVISION
14

15 FINJAN, INC., a Delaware Corporation,        Case No.: 4:17-cv-4790-HSG

16                 Plaintiff,                   PLAINTIFF FINJAN, INC.’S
                                                REQUEST FOR JUDICIAL NOTICE
17          v.
18
   BITDEFENDER INC., a Florida Corporation
19 and BITDEFENDER S.R.L., a Romanian
   Corporation,
20
                Defendants.
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     ____________________________________________________________________________________
     FINJAN’S REQUEST FOR JUDICIAL NOTICE                       Case No. 4:17-cv-4790-HSG
               Case 4:17-cv-04790-HSG Document 90 Filed 07/26/18 Page 2 of 3




 1                                   REQUEST FOR JUDICIAL NOTICE
 2           Plaintiff Finjan, Inc. (“Plaintiff” or “Finjan”) respectfully requests that the Court take judicial
 3 notice of the Claim Construction Order, attached hereto as Exhibit A, issued in the case Finjan, Inc. v.

 4 Cisco Systems, Inc., No. 17-cv-00072-BLF (N.D. Cal. 2018) on July 23, 2018, which addresses

 5 construction of terms for U.S. Patent Nos. 6,804,780; 8,141,154; and 8,677,494 that are also asserted

 6 in this case.

 7                           MEMORANDUM OF POINTS AND AUTHORITIES
 8           Courts may take judicial notice of facts that can be “accurately and readily determined from
 9 sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2). Judicial notice is

10 appropriate even after the record is closed. See Fed. R. Evid. 201(f); Grup One, Ltd. v. Hallmark

11 Cards, Inc. 407 F.3d 1297, 1306 (Fed. Cir. 2005) (finding it proper to take judicial notice of patent’s

12 reinstatement after jury reached verdict, but before entry of judgment).

13           Here, the attached Claim Construction Order addresses construction of terms for three of the
14 four patents asserted in this case, namely U.S. Patent Nos. 6,804,780; 8,141,154; and 8,677,494. See

15 Exhibit A at 20, 23, and 35; see also Finjan, Inc. v. Symantec Corp., No. 14-cv-02998-HSG, Dkt. No.

16 170 at *4 (N.D. Cal. Feb. 10, 2017) (noting greater deference to interpretations by Courts in the same

17 District and “the particular importance of intrajurisdictional uniformity in claim construction”).

18 Further, this Court may take judicial notice of orders filed in different cases. United Tactical Sys., LLC

19 v. Real Action Paintball, Inc., No. 14-CV-04050-MEJ, 2014 WL 6788310, at *5 (N.D. Cal. Dec. 2,

20 2014) (taking judicial notice of orders and motions filed in different cases); Lee v. City of Los Angeles,

21 250 F.3d 668, 689 (9th Cir. 2001) (“when a court takes judicial notice of another court’s opinion, it

22 may do so not for the truth of the facts recited therein, but for the existence of the opinion, which is not

23 subject to reasonable dispute over its authenticity.” (citation and internal quotation marks omitted)).

24 Thus, Finjan’s Request for Judicial Notice is appropriate.

25                                                CONCLUSION
26           For these reasons, Finjan respectfully requests that the Court grant this Request for Judicial
27 Notice.

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     FINJAN’S REQUEST FOR JUDICIAL NOTICE                                          Case No. 4:17-cv-4790-HSG
            Case 4:17-cv-04790-HSG Document 90 Filed 07/26/18 Page 3 of 3




                                                Respectfully submitted,
 1

 2    Dated: July 26, 2018                By: /s/ Austin Manes
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     FINJAN’S REQUEST FOR JUDICIAL NOTICE                            Case No. 4:17-cv-4790-HSG
